Case 2:20-cv-00090-LGW-BWC Document 8 Filed 10/20/20 Page 1 of 1

AO 450 (GAS Rev 10/03) Judgment in a Civil Case

United States District Court
Southern District of Georgia

LARRY KURTZ

JUDGMENT IN A CIVIL CASE

Vv. CASE NUMBER: 2:20-CV-90

STEVE LAND, et al.,

Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury
has rendered its verdict.

[/] Decision by Court. This action came before the Court. The issues have been considered and a decision has been rendered.
IT IS ORDERED AND ADJUDGED
that in accordance with the Order of this Court dated October 20, 2020, the Magistrate Judge's Report and
Recommendation is ADOPTED as the Order of the Court. Plaintiff's Complaint is DISMISSED without

prejudice, and Plaintiff is DENIED in forma pauperis status on appeal. This civil action stands closed.

Approved by: a ™

HON. Lis/GobBEY WOOD, JUDGE

 

0 G k 5 evr Le, 2470 John Triplett, Acting Clerk of Court
/ Clerk

(By) Qeputy Clerk

Date

GAS Rev 10/1/03
